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                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                   WESTERN DIVISION

UNITED STATES OF AMERICA                                                              PLAINTIFF


v.                                      NO. 4:15cr00038-19 JM


BEAU D. ARMSTRONG                                                                     DEFENDANT


                          ORDER AMENDING JUDGMENT [DE#485]

          The Judgment & Commitment Order [DE#485] entered on March 16, 2016, is hereby

amended to reflect:

          The defendant shall participate, under the guidance and supervision of the probation
          officer, in a substance abuse treatment program which may include testing, outpatient
          counseling, and residential treatment. Further, the defendant shall abstain from the use of
          alcohol throughout the course of treatment.

          All other conditions contained in the original Judgment shall remain in full force and

effect.

          IT IS SO ORDERED this 18th day of March, 2016.



                                                       _________________________________
                                                       JAMES M. MOODY JR.
                                                       UNITED STATES DISTRICT JUDGE
